                          Case 4:19-cv-07123-PJH Document 56 Filed 04/23/20 Page 1 of 3



              1      COOLEY LLP
                     MICHAEL G. RHODES (116127) (rhodesmg@cooley.com)
              2      TRAVIS LEBLANC (251097) (tleblanc@cooley.com)
                     BETHANY C. LOBO (248109) (blobo@cooley.com)
              3      KYLE C. WONG (224021) (kwong@cooley.com)
                     JOSEPH D. MORNIN (307766) (jmornin@cooley.com)
              4      101 California Street, 5th floor
                     San Francisco, CA 94111-5800
              5      Telephone: (415) 693-2000
                     Facsimile: (415) 693-2222
              6
                     DANIEL J. GROOMS (D.C. Bar No. 219124) (admitted pro hac vice)
              7      (dgrooms@cooley.com)
                     ELIZABETH B. PRELOGAR (262026) (admission pending)
              8      (eprelogar@cooley.com)
                     1299 Pennsylvania Avenue, NW, Suite 700
              9      Washington, DC 20004-2400
                     Telephone: (202) 842-7800
            10       Facsimile: (202) 842-7899

            11       O’MELVENY & MYERS LLP
                     MICHAEL R. DREEBEN (D.C. Bar. No. 370586 (pro hac vice pending)
            12       (mdreeben@omm.com)
                     1621 I Street NW
            13       Washington, D.C. 20006
                     Telephone: (202) 383-5300
            14
                     Attorneys for Plaintiffs
            15       WHATSAPP INC. and FACEBOOK, INC.

            16
                                                   UNITED STATES DISTRICT COURT
            17
                                               NORTHERN DISTRICT OF CALIFORNIA
            18
            19
                     WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
            20       and FACEBOOK, INC., a Delaware
                     corporation,                                  PLAINTIFFS’ REQUEST FOR JUDICIAL
            21                                                     NOTICE IN SUPPORT OF PLAINTIFFS’
                                                                   OPPOSITION TO DEFENDANTS’ MOTION
            22                       Plaintiffs,                   TO DISMISS

            23             v.                                      Date:      May 27, 2020
                                                                   Time:      9:00 a.m.
            24       NSO GROUP TECHNOLOGIES LIMITED                Courtroom: 3, 3rd Floor
                     and Q CYBER TECHNOLOGIES LIMITED,             Judge:     Hon. Phyllis J. Hamilton
            25
                                     Defendants.
            26

            27

            28
  COOLEY LLP
ATTO RNEY S AT LAW                                             1            PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
 SAN FRA NCI S CO                                                                        CASE NO. 4:19-CV-07123-PJH
                           Case 4:19-cv-07123-PJH Document 56 Filed 04/23/20 Page 2 of 3



              1             Plaintiffs WhatsApp Inc. and Facebook, Inc. request that the Court take judicial notice of

              2      Exhibits 1 and 2 to the Declaration of Travis LeBlanc (“LeBlanc Declaration”) under Rule 201 of

              3      the Federal Rules of Evidence and the authorities cited below.

              4      I.     BASIS FOR REQUESTING JUDICIAL NOTICE

              5             When ruling on a motion to dismiss, a court may consider any matter that is subject to

              6      judicial notice. MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986). Judicial notice

              7      is appropriate for facts “not subject to reasonable dispute” that are either generally known or that

              8      “can be accurately and readily determined from sources whose accuracy cannot reasonably be

              9      questioned.” Fed. R. Evid. 201(b). “[A]s a general matter, websites and their contents may be

            10       proper subjects for judicial notice” provided that the party provides the court with a copy of the

            11       relevant webpage. Caldwell v. Caldwell, 2006 WL 618511, at *4 (N.D. Cal. Mar. 13, 2006)

            12       (Hamilton, J.); Opperman v. Path, Inc., 205 F. Supp. 3d 1064, 1069 n.3 (N.D. Cal. 2016) (taking

            13       judicial notice of online policies as they “were publicly available on [a] website and their existence

            14       [could not] reasonably be questioned”); Kinderstart.com, LLC v. Google, Inc., 2007 WL 831806, at

            15       *21 n.20 (N.D. Cal. Mar. 16, 2007) (taking judicial notice of “web-page printouts”).

            16              The Court may also take judicial notice of archived websites—that is, accurate copies of

            17       original websites that are catalogued and accessible on archival platforms like archive.org (the

            18       “Wayback Machine”). Erickson v. Neb. Mach. Co., 2015 WL 4089849, at *1 n.1 (N.D. Cal. Jul. 6,

            19       2015) (“Courts have taken judicial notice of the contents of web pages available through the

            20       Wayback Machine as facts that can be accurately and readily determined from sources whose

            21       accuracy cannot reasonably be questioned.”) (collecting cases); Tompkins v. 23andMe, Inc., 2014

            22       WL 2903752, at *1 n.1 (N.D. Cal. Jun. 25, 2014) (taking judicial notice of archived version of

            23       website available on the Wayback Machine).

            24              Pursuant to these principles, Plaintiffs request judicial notice of the following documents:

            25                  1. Exhibit 1 to the LeBlanc Declaration: A true and correct copy of QuadraNet Inc.’s

            26                      (“QuadraNet”) Terms of Service as it appeared on January 29, 2019, archived at

            27                      https://web.archive.org/web/20190129070813/https://www.quadranet.com/terms-of-

            28                      service.
  COOLEY LLP
ATTO RNEY S AT LAW                                                     2            PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
 SAN FRA NCI S CO                                                                                CASE NO. 4:19-CV-07123-PJH
                           Case 4:19-cv-07123-PJH Document 56 Filed 04/23/20 Page 3 of 3



              1                 2. Exhibit 2 to the LeBlanc Declaration: A true and correct copy of the current version

              2                     of Quadranet’s Terms of Service, which went into effect on March 4, 2020, available

              3                     at https://www.quadranet.com/terms-of-service.

              4      As these Exhibits are available on publicly accessible webpages, including the Wayback Machine,

              5      they are proper subjects for judicial notice.

              6      II.    CONCLUSION

              7             Plaintiffs respectfully request that the Court take judicial notice of Exhibits 1 and 2 to the

              8      LeBlanc Declaration.

              9
                     Dated: April 23, 2020                           Respectfully submitted,
            10
                                                                     COOLEY LLP
            11

            12
                                                                      /s/ Travis LeBlanc
            13                                                        Travis LeBlanc
            14                                                        Attorneys for Plaintiffs
                                                                      WHATSAPP INC. and FACEBOOK, INC.
            15
            16

            17

            18
            19

            20
            21

            22

            23
            24

            25
            26

            27

            28
  COOLEY LLP
ATTO RNEY S AT LAW                                                      3           PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
 SAN FRA NCI S CO                                                                                CASE NO. 4:19-CV-07123-PJH
